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                                     UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                                          www.flsb.uscourts.ggY
                                                      THAPTEP         PI AN Undividual Adjustment of Debtsl
                               □                                          Original Plan

                               g FIRST
                                                                          Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                               □
                                                                          Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)
                                                              JOINT DEBTOR: Lourdes Valladares                       CASE NO.: 24-13918-RAM
     DEBTOR: Felipe Osorto

     SS#: xxx-xx- 3086                                           SS#: xxx-xx-5749

     I.           NOTICES

                  To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable,                 amended p ans and
                                      modified plans shall be served upon all creditors and a certificate of service filed with the Clerk Pursuant to Loca
                                      Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of tilmg
                                      the chapter 13 petition or within 30 days of entiy of the order converting the case to chapter 13.
                  To Creditors:       Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                      be reduced, modified or eliminated.
                  To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                       on each line listed below in this section to state whether the plan includes any of the following:

          The valuation of a secured claim, set out in Section III, which may result in a                             g Included            Q Not included
          partial payment or no payment at all to the secured creditor
          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                     r~]   Included        g Not included
          out in Section III
                                                                                                                      g     Included        Q Not included
      Nonstandard provisions, set out in Section IX
    II.     PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(S)* ATTORNEY'S FEE
                        monthly plan PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

                        1.     $4.436.57            for months   1    to 60       ;

                 B. DF.BTORfSV ATTORNEY'S FEE;                                              □ NONE    □ PRO BONO
              Total Fees:              $6,800.00           Total Paid:                $1,687.00        Balance Due:            $5,113.00

              Payable _            $389.51          /month (Months    1    to 13 )
              Payable _        $49.37         /month (Months _1^ to       )
              Allowed fees under LR 2016-1(B)(2) are itemized below:
              Safe Harbor: $5,000.00 Attorney’s Fees + $200.00 Costs + $800 MTV Tacoma + $800 MTV 4Runner - $6,800.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT OF SECURED CLAIMS                         □ NONE
                 A. SECURED CLAIMS;                 □ NONE
                 [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Li en on Real or Personal Property:
               1. Creditor: citibank, N.A. / Fay Servicing, LLC [POC#22]
                   Address: Fay Servicing, LLC                   Arrearage/ Payoff on Petition Date   $9,752.65
                               PO Box 814609                                                                  $1,415.91        /month (Months    ^    to 60 )
                                                                 Regular Payment (Maintain)
                               Dallas, TX 75381-4609
                                                                 Arrears Payment (Cure)                           $170.07      /month (Montl)s   14   to 14 )
               Last 4 Digits of                                                                                   $208.32      /montli (Months   15   to 60 )
               Account No.:                  0433                Arrears Payment (Cure)

              Other:




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                                                                           Check one below for Real Property:
        g Real Property
             (^Principal Residence                                         [■jEscrow is included in the regular payments
                □Other Real Property                                       □The debtor(s) will pay Gtaxes Glnsurance directly
        Address of Collateral:
        6201 SW138 CT UNIT M, Miami, FL 33183


        I I Personal PropertyA^ehicle
         Description of Collateral:
         2. Creditor: Ally Bank c/o ATS Portfolio Services, LLC [POC#3]
              Address: Payment Processing            Arrearage/ Payoff on Petition Date   $13,566.57
                         Center
                                                     Payoff (Including 0% monthly interest)         $226.11     /month (Months   1   to 60 )
                         PO Box 660618
                         Dallas TX 75266-0618

         Last 4 Digits of
         Account No.:                 8175

        Other:

                                                                           Check one below for Real Property:
        □ Real Property
                I   [Principal Residence                                   □Escrow is included in the regular payments
                □other Real Property                                       □The debtor(s) will pay Gtaxes □ insurance directly
        Address of Collateral:



        [■I Personal Property/Vehicle
        Description of Collateral: 2019 Mercedes-Benz Sprinter Passenger Van 1500 High Roof 2.0L 14 Turbo
                                      VIN:WD4PE7ED6KT012066

            B. VALUATION OF COLLATERAL;              □ NONE
                    IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                    SECURING YOUR CLAIM fN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                    YOU PURSUANT TO BR 7004 AND LR 3015-3.
                    1. REAL PROPERTY: g] NONE
                    2. VEHICLES(S): □ NONE




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                                                                                                                                     Case number: 24-13918-RAM
                                                                               Dcbtor(s): Felipe Osorto, Lourdes Valladarcs
                                                                                                                                       Payment
                                                                Value of Collateral:                   S47,355.42
          1    Creditor- World Omni Financial Corp.
                             ‘[POC#l]                           Amount of Creditor's Lien:             $47.355.42    Total paid in plan:      $55,927.11

               Address: World Omni Financial Corp.
                              P. O. Box 991817                                                                           $932.12     /month (Months      1 to 60 )
                                                                 Interest Rate:           6.75%
                              Mobile AL 36691-8817

         Last 4 Digits of Account No.: 4006
         VIN: 3TMAZ5CNXNM185807

         Description of Collateral:
         2022 TOYOTA TACOMA TRD -



         Check one below:

         (—|Claim incurred 910 days or more pre-
         *—^petition
         I—.Claim incurred less than 910 days pre-
         '—'petition
                                                                                                        $34,000.00                     Payment
         2 Creditor World Omni Financial Corp.                   Value of Collateral:
                             ' [poem                             Amount of Creditor's Lien:             $34.000.00   Total paid in plan:         $40.154.26

               Address: World Omni Financial Corp.
                              P. 0. Box 991817
                                                                 Interest Rate:           6.75%                          $669.24     /month (Months      1 to 60 )
                              Mobile AL 36691-8817

          Last 4 Digits of Account No.: 5651
         VIN: JTEZU5JROL5228010

         Description of Collateral:
         2020 TOYOTA 4RUNNER -



         Check one below:

         |—.Claim incurred 910 days or more pre-
         '—'petition
         |—.Claim incurred less than 910 days pre-
              'petition
                    3. PERSONAL PROPERTY: \m\ NONE
                                                                                                                                                  <      V    ●
              C. MEN AVOIDANCE [f] NONE                          ●» j
                                                                         ’Vw
              D.   SURRENDER OF COLLATERAL:                          [1 NONE
              E. DIRECT PAYMENTS                   □     NONE
              Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Tmstee.
                  The dcblor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                   confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                   codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s) state law contract rights.
                        Name of Creditor                I.nst4 Diizits nf Account No. Description of Collateral /Address. Vehicle, etc,)
                                                                                                     6201 SW 138 CT UNIT M, Miami, FL 33183
                             Golf Village of Kendall Inc.     6201
                        1.

IV.           TREATMENT OF FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                         □ NONE
              A. ADMINISTRATIVE FEES OTHER THAN DEBTORSfSV ATTORNEY'S FEE: E NONE
              B. INTERNAI . REVENUE SERVICE: Q NONE
                   Total Due:               $21,601.11                  Total Payment                $21.601.11

                   Payable:             $360.02             /month (Months        1        to 60 )


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               C. nOMFSTIC SUPPORT OBLIGATION(S); \m\ NONE
               D. OTHER: (f] NONE
V.             TREATMENT OF UNSECURED NONPRIORITV CREDITORS                                        □ NONE

                 A. Pay           $170.07        /month (Months     14       to 14 )
                       Pay        $181.19        /month (Months     15       to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review        of filed claims after bar date.
                                                                                       100% to all allowed unsecured nonpriority claims.
                 B. □ Ifchecked, the Debtor(s) will amend/modify to pay
                 C.    StF.PARATELY CLASSIFIED:            B NONE
VI.            .STUDENT I.PAN PROGRAM                 [S] NONE
VII.           EXECUTORV CONTRACTS AND UNEXPIRED LEASER @ NONE
viri.          TfsirOME TAX RETURNS AND REFUNDS:

                      fil The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                          annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for Providing the
                          Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                          provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                          increases by more than 3% over the previous year’s income. [Miami cases]
IX.            NON-STANDARD PLAN PROVISIONS □ NONE
              HI Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                 Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

                  Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                  before confirmation.

                   If the debtor receives gambling winnings during the pendency of the plan the debtor shall turn over any gross
                  winnings to the Chapter 13 Trustee for the benefit of the unsecured creditors.

              Q Mortgage Modification Mediation

                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION,


                 that the fore^g chapter 13 plan is true and correct under penalty ofperjury.
         declareL.
     I

                                                                                                               /
                                                                                                                            Joint Debtor
                                                 Debtor
                                                                                                         /                                       Date
                                                                  Date                    Ldurdes Valladares
 FelipeiOsorto



 /s/ Jose A. Blanco, Esq.
                                                              Date
         Attorney with permission to sign on
          Debtor(s)' behalf who certifies that
         the contents of the plan have been
           reviewed and approved by the
                       Debtor(s). *
                                                              Debtor(s), if not represented by counsel, certifies that the wording and
     By filing this document, the Attorney for Debtor(s) ::identical
                                                                        or


     order of the provisions in this Chapter 13 plan              areto those contained in Local Form Chapter 13 Plan and the plan
     contains no nonstandard provisions other than those set out in paragraph IX.




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                                                               Dcbtor(s): Felipe Osorto, Lourdes Valladarcs




*This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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